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               EXHIBITB
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                                                                        Page 1

1                             SUPERIOR COURT OF NEW JERSEY
                              LAW DIVISION - ATLANTIC COUNTY
2                             Docket No. ATL-L-2648-15
3
           IN RE: TALC-BASED POWDER                         : CIVIL ACTION
4          PRODUCTS LITIGATION                              : CASE NO. 300
5
6                                - - -
                      TRANSCRIPT OF PLENARY HEARING
7                              (VOLUME III)
                                 - - -
8
9       PLACE:         ATLANTIC COUNTY CIVIL COURTHOUSE
                       1201 BACHARACH BOULEVARD
10                     ATLANTIC CITY, NEW JERSEY
11      DATE:          MAY 3, 2024
12      BEFORE:        THE HONORABLE JOHN C. PORTO, P.J.Cv.
                       THE HONORABLE RUKHSANAH L. SINGH
13                     U.S. DISTRICT COURT MAGISTRATE
14
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19
20                             - - -
21         Stenographically reported and transcribed by:
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                                                                        Page 2

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                                                                       Page 160

1                       THE COURT:        All right.           I think Judge
2       Singh and I would like to just discuss briefly with
3       regard to that, with regard to P-3.
4                       MR. BRODY:        Yes.
5                       THE COURT:        And then we for your eyes
6       only privileged materials.
7                       MR. BRODY:        Sure.
8                       THE COURT:        We'll take five.                We'll
9       go off the record.
10                      (A recess was taken.)
11                      THE COURT:        Counsel, the Courts are
12      going to maintain its position with regard to the
13      attorney eyes only privileged material, argue the
14      weight, you know, how much, you know, but maintain
15      the privilege that's been asserted.                 Okay?       So you
16      can reference, but maintain the privilege.                      That
17      goes to the weight with regard to the issue here.
18                      As it relates to, what, P-5, the
19      Court does not require or need any additional
20      testimony.
21                      MR. BRODY:        Thank you, Your Honor.
22                      THE COURT:        All right?
23                      MR. BRODY:        Thank you, Your Honor.
24                      THE COURT:        You're welcome.
25                      JUDGE SINGH:         Just one federal court

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1       footnote as to the attorneys' eyes only submission.
2       To the extent the parties address something
3       substantive that has been submitted with that
4       designation, we anticipate it will be appropriately
5       filed under seal on the federal court's docket
6       pursuant to our local civil rule.
7                       THE COURT:        And the same thing with
8       the regard to eCourts.
9                       MR. BRODY:        Thank you, Your Honors.
10                      And as to the briefing, just to
11      confirm, two weeks simultaneous submission, and then
12      replies seven days after that.
13                      JUDGE SINGH:         Correct.
14                      THE COURT:        That's correct.
15                      MR. BRODY:        Thank you.
16                      THE COURT:        Counsel, thank you.
17                      MR. POLLOCK:         Thank you, Your Honors.
18                      THE COURT:        You're welcome.
19                      (Proceedings concluded at 1:43 p.m.)
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